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IN THE UNITED sTATEs DISTRICT CoURT
FoR THE NoRTHERN DISTRICT oF rEXAs
FoRT WoRTH DlvlsloN
UNITED sTATEs oF AMERICA
v. NO. 41 17-MJ-589
ANGEL RENEE NoRRls (07)

JOINT MOTION TO CONTINUE TIME TO INDICT

 

The Government and the Defendant, ANGEL RENEE NORRIS, jointly request
this Honorable Court to continue the time upon Which an indictment must be filed for this
particular case.

(l) The Government filed a criminal complaint against the defendant on, July

18, 2017, alleging a Violation of2l U.S.C. § 846 (21 U.S.C. § 84l(a)(l)
and (b)(l)(B), possession of a controlled substance With intent to distribute.

(2) ANG_EL RENEE NORRIS appeared before the Honorable Jeffrey L.

Cureton on July 2@, 2017. The defendant Wa.released pending
trial by the Honorable Jeffrey L. Cureton on this date.

(3) Under the Speedy Trial Act, 18 U.S.C. § 3 l 6l(b), an indictment must be

returned on the instant charge “Within thirty days from the date on Which
[the Defendant] Was arrested or served With a summons in connection With

such charges.”

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This 30th day Will fall on or about August 24, 2017, taking into account any
excludable time, pursuant to l8 U.S.C. § 316l(h)(l)(H), and Federal Rule
45(a).

(4) The parties request that the Court continue presentation of the Defendant’s ‘
case to the Grand Jury for an additional 28 days. Both parties believe that
With additional time in Which to gather information about the Defendant
and the circumstances surrounding the events leading to the pending case, a
plea agreement may be reached, thus negating the need for an indictment

(5) Therefore, the granting of this continuance Would be in the interest of
judicial economy. Both parties further believe that a continuance Would
serve the ends of justice and Would,outweigh the interest of the public in a
speedy trial. See 18 U.S.C. § 3161 (h)(7)(A).

(6) This request is not made in effort to unduly delay the proceedings, but
rather to insure that justice is achieved The parties both believe that a
failure to grant the requested continuance Would deny the parties the time
necessary for effective preparation, taking into account the exercise of due
diligence. See 18 U.S.C. § 3161(11)(7)(1?)(1`\)). As such, return of the
indictment Within the normal 30 day period could result in a miscarriage of

justice see 18 U.S.C. § 3161(h)(7)(3)(1).

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(7) F or the foregoing reasons, the parties request that this Honorable Court
continue the time upon Which an indictment must be filed for an additional
28 days, until on or about September 21, 2017.

Respectfully submitted,

JOHN R. PARKER
UNITED STATES ATTORNEY

AG ED TO BY:

 

 

 

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S'Fl:AiWN Sl\/IITH ANGELMWE NORRIS
Assistant United States Attorney Defendant

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BRIAN O’ SHEA
Attorney for Defendant

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